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   IN THE UNITED STATES DISTRICT COURT FOR THE
   WESTERN DISTRICT OF VIRGINIA
   Charlottesville Division
   Civil Action No. 3:17-cv-00072
   ELIZABETH SINES, et al.,
   Plaintiffs
   v.
   JASON KESSLER, et al.,
   Defendants

   DEFENDANT RICHARD SPENCER’S EXHIBIT LIST
   COME NOW the exhibit list of Defendant Richard Spencer, pro se, which he intends to
   introduce at trial. He will draw from exhibits attached to his Motion for Summary Judgement.

   Mr. Spencer reserves the right to amend this list in light of new information developed before or
   during trial.




   September 16, 2021
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   I certify that on September 16, 2021, a true copy of this Exhibit List was led electronically with
   the Clerk of the Court. I further certify that on September 16, 2021, I also served all participants
   via electronic mail.




   September 16, 202
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